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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    LAKE CHARLES DIVISION


 UNITED STATES OF AMERICA                                      CASE NO. 2:17-CR-00040-01

 VERSUS                                                        JUDGE ROBERT R. SUMMERHAYS

 DAMIEN GUIDRY (01)                                            MAGISTRATE JUDGE KAY


                                         ORDER and REASONS

         Defendant Damien Guidry moves the Court to “correct his sentencing guideline range”

 pursuant to Fed. R. Cr. P. 36. 1 [ECF No. 136]. For the reasons set forth below, the Court will

 recharacterize the motion as brought pursuant to 28 U.S.C. § 2255 and will grant Guidry leave to

 withdraw or amend the motion.

                                                     I.
                                                 Background

         On November 30, 2018, Guidry pleaded guilty to possession with intent to distribute

 marijuana (Count 2) and conspiracy to distribute and possess with intent to distribute cocaine

 (Count 4). [ECF Nos. 2, 94]. On April 29, 2019, Guidry was sentenced to a term of imprisonment

 of 60 months on Count 2 and 115 months on Count 4, with the sentences to run concurrently. [ECF

 Nos. 110, 113]. Guidry filed a timely notice of appeal, and the Fifth Circuit affirmed the judgment

 and sentence. [ECF No. 130]. On October 13, 2020, the United States Supreme Court denied

 certiorari. [ECF No. 131]. Guidry now moves the Court to “correct his sentencing guideline range”




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   Rule 36 provides, “After giving any notice it considers appropriate, the court may at any time correct a
 clerical error in a judgment, order, or other part of the record, or correct an error in the record arising from
 oversight or omission.” Fed. R. Crim. P. 36.
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 pursuant to Rule 36, arguing that his guideline range was incorrectly calculated at the time of

 sentencing. 2 [ECF No. 136 at 6].

                                                  II.
                                              Discussion

        It is clear from Guidry’s motion that he wishes to collaterally attack his sentence. The

 proper vehicle for a collateral attack is a motion pursuant to 28 U.S.C. § 2255—not Rule 36. Rule

 36 allows a court to correct a clerical error in a judgment. Fed. R. Crim. P. 36. Guidry does not

 argue that a clerical error was made at sentencing; rather, he alleges a misapplication of the

 sentencing guidelines. See United States v. Garcia, 344 Fed.Appx. 935 (5th Cir. 2009) (a Rule 36

 motion arguing district court miscalculated sentence and cited incorrect edition of the sentencing

 guidelines was a collateral attack that must be brought pursuant to § 2255) (citing Pack v. Yusuff,

 218 F.3d 448, 451 (5th Cir. 2000)). Accordingly, the Court finds the pending motion is properly

 construed as a motion to vacate, set aside, or correct a sentence pursuant to 28 U.S.C. § 2255.

        Pursuant to Castro v. United States, 540 U.S. 375, 383 (2003), Guidry is hereby NOTIFIED

 that the Court will recharacterize the motion as a motion brought pursuant to 28 U.S.C. § 2255.

 This recharacterization means that any subsequent Section 2255 motion will be subject to the

 restrictions on “second or successive” motions. 28 U.S.C. § 2255(h). The Court will therefore grant

 Guidry leave to either withdraw his motion or amend it so that it contains all of the Section 2255

 claims he believes he has. Castro at 383.




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   Specifically, Guidry contends the Court incorrectly calculated his guideline range by applying “a two
 point enhancement for possession of a dangerous weapon” to Count 4, when the enhancement should have
 applied to Count 2. [ECF No. 136 at 1]. (The Court notes Counts 2 and 4 were grouped together into a
 single group for sentencing guideline purposes pursuant to U.S.S.G. § 3D1.2. See ECF No. 118 at 14.)


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                                                III.
                                             Conclusion

        For the foregoing reasons, the Court hereby RECHARACTERIZES Guidry’s motion as a

 collateral attack on his conviction and sentence under 28 U.S.C. § 2255. Further, the Court

 WARNS Guidry that this recharacterization means that any subsequent § 2255 motion will be

 subject to the restrictions on “second or successive” motions. Id. at 2255(h). Finally, Guidry has

 120 days from the date of this Order to either withdraw his motion or amend it to include all of the

 Section 2255 claims he wishes to include.

        THUS DONE in Chambers on this 8th day of June, 2021.




                                                         ROBERT R. SUMMERHAYS
                                                      UNITED STATES DISTRICT JUDGE




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